        Case 2:12-cr-20119-JWL Document 280 Filed 09/18/20 Page 1 of 7




                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                      Plaintiff,       )
                                       )
      v.                               )               Case No. 12-20119-02-JWL
                                       )
ROGELIO AMADA LAMAS,                   )
                                       )
                      Defendant.       )
                                       )
_______________________________________)


                           MEMORANDUM AND ORDER

      In September 2013, defendant Rogelio Amada Lamas pleaded guilty to one count

of conspiracy to distribute or possess with the intent to distribute more than 50 grams of

methamphetamine. Mr. Lamas was sentenced to 204 months imprisonment. After the

district court assigned to the case at that time granted a portion of Mr. Lamas’ § 2255

petition, his sentence was reduced to 183 months imprisonment. Mr. Lamas is presently

incarcerated at Yankton FPC and his anticipated release date is August 17, 2025. This

matter is presently before the court on defendant’s motion for compassionate release (doc.

#275). For the reasons set forth below, the motion is denied.

      A court may reduce a term of imprisonment for “extraordinary and compelling

reasons” pursuant to 18 U.S.C. § 3582(c)(1)(A). The moving defendant bears the burden

of establishing that such a “compassionate release” is warranted under the statute. See,

e.g., United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016) (defendant bears burden to
          Case 2:12-cr-20119-JWL Document 280 Filed 09/18/20 Page 2 of 7




show reduction is warranted under Section 3582(c)(2)); United States v. Bright, 2020 WL

473323, at *1 (D. Kan. Jan. 29, 2020) (“extraordinary and compelling” standard imposes

a heavy burden on a defendant seeking relief under Section 3582(c)(1)(A)). A court

exercises its discretion in ruling on such a motion. See United States v. Chambliss, 948

F.3d 691, 693 (5th Cir. 2020) (reviewing denial for abuse of discretion); United States v.

Saldana, 2020 WL 1486892, at *2 n.4 (10th Cir. Mar. 26, 2020) (unpub. op.) (same) (citing

United States v. Piper, 839 F.3d 1261, 1265 (10th Cir. 2016)).1

       18 U.S.C. § 3582(c)(1)(A) provides that a court may reduce a sentence if it finds

both (a) that extraordinary and compelling reasons warrant the reduction and (b) “that such

a reduction is consistent with applicable policy statement issued by the Sentencing

Commission.” See id. In addition, 28 U.S.C. § 994(t) provides that “[t]he [Sentencing]

Commission, in promulgating general policy statements regarding the sentencing

modification provisions in section 3582(c)(1)(A) of title 18, shall describe what should be

considered extraordinary and compelling reasons for sentence reduction, including the

criteria to be applied and a list of specific examples.” See id. The Sentencing Commission

responded to that mandate by promulgating the policy statement found at U.S.S.G. §

1B1.13.




1
 The statute allows a defendant to bring a motion for reduction of a term of
imprisonment after the defendant has fully exhausted all administrative remedies. 18
U.S.C. § 3582(c)(1)(A). Mr. Lamas alleges in motion that he has exhausted his
administrative remedies and the government does not challenge that allegation. The
court, then, exercises jurisdiction over the motion and proceeds to the merits.
                                            2
         Case 2:12-cr-20119-JWL Document 280 Filed 09/18/20 Page 3 of 7




       In Section 1B1.13, the Commission added the requirement that the defendant not be

a danger to the safety of another person or the community. See id. In addition, in

Application Note 1 to the statement, the Commission set forth four circumstances (in

subdivisions (A) through (D)) under which “extraordinary and compelling reasons” may

exist. See id. application note 1. Subdivisions (B) and (C) depend on the defendant’s age

and family circumstances, and they are not applicable here. See id. Subdivision (A) sets

forth the following qualifying medical condition: the defendant is either (i) suffering from

a terminal illness; or (ii) suffering from a serious physical or medical condition that

substantially diminishes his or her ability to provide self-care within the prison

environment from which he or she is not expected to recover. See id. Nothing in the record

indicates that Mr. Lamas can satisfy subdivision (A) and, thus, Mr. Lamas has not shown

that he is entitled to relief under this subdivision.

       That leaves subdivision (D), known as the “catchall” provision, which in its present

form provides as follows:

              (D) Other Reasons. – As determined by the Director of the Bureau
       of Prisons, there exists in the defendant’s case an extraordinary and
       compelling reason other than, or in combination with, the reasons described
       in subdivisions (A) through (C).

See id. Subdivision (D) thus provides that circumstances other than those listed in

subdivisions (A) through (C) may be sufficient to warrant relief, as determined by the

Bureau of Prisons (BOP). The BOP has made no such determination in this case.

Nevertheless, as this court has previously determined, in accordance with the weight of

authority, the court is not limited to circumstances (A) through (C), and it may exercise its


                                                3
        Case 2:12-cr-20119-JWL Document 280 Filed 09/18/20 Page 4 of 7




own discretion to determine whether other extraordinary and compelling reasons warrant

relief under the statute. See United States v. Jackson, 2020 WL 2812764, at *3 (D. Kan.

May 29, 2020). As will be explained, the court concludes in its discretion that Mr. Lamas

has not met his burden to show that extraordinary and compelling circumstances warrant

his immediate release from prison because he has not shown that he suffers from medical

conditions that place him at an elevated risk of harm from the virus.2

       Mr. Lamas asserts that his status as a “minority male” renders him particularly

susceptible to COVID-19 and increases his risk of harm in the event that he contracts the

virus. But the fact that Mr. Lamas is a minority male does not constitute a risk factor for

COVID-19 in the same way that an underlying medical condition does. See United States

v. Leigh-James, 2020 WL 4003566, at *8 (D. Conn. July 15, 2020) (collecting cases and

recognizing that higher death and hospitalization rates from COVID-19 among African-

Americans “most probably owes to long-standing systemic health and social inequities”

rather than the fact of race itself). The court, then, rejects the argument that Mr. Lamas’s

status as a minority male, standing alone, places him at an increased risk of harm. See id.;

United States v. Billings, 2020 WL 4705285, at *3 n.5 (D. Colo. Aug. 13, 2020) (it is

“entirely speculative” whether race, in and of itself, increases risk of contracting virus or

experiencing a more severe course of the virus; refusing to consider race a “compelling”

reason); United States v. Varela, 2020 WL 4670860, at *3 n.4 (D. Colo. Aug. 12, 2020)



2
 In his reply, Mr. Lamas asserts that his mother was diagnosed with cancer in 2018. But
he does not indicate how his mother’s health condition bears on the issues before the
court.
                                             4
        Case 2:12-cr-20119-JWL Document 280 Filed 09/18/20 Page 5 of 7




(“While the virus may have a disparate impact on [Hispanics and males] in society at large,

the Court is not persuaded that either of these characteristics qualifies as a risk factor or

comorbidity.”)); United States v. Chambers, 2020 WL 4260445, at *4 (E.D. La. July 24,

2020) (defendant’s African-American race does not amount to an extraordinary or

compelling reason for compassionate release); United States v. Anello, 2020 WL 3971399,

at *5 (W.D. Wash. July 14, 2020) (fact that inmate is African American may not necessarily

elevate his risk of suffering from complications from COVID-19; “the CDC suggests that

the disproportionate rate of severe outcome is due to complex societal realities related to

living and work conditions, unequal access to health care, and underlying health

conditions”); United States v. Green, 2020 WL 3642860, at *4 (W.D. Pa. July 6, 2020)

(denying motion for compassionate release for 39-year-old defendant, explaining that

while data suggests that African-Americans have been disproportionally affected by

COVID-19, it is unclear whether race is an independent risk factor or whether adverse

outcomes are caused by other factors).

       In his reply brief, Mr. Lamas also asserts that his status as a former smoker places

him at an increased risk of contracting COVID-19 and experiencing more severe illness if

he does contract the virus. But there is nothing in the record to suggest that his history of

smoking has impacted his health in a way that increases his risk with respect to COVID-

19. See United States v. Leigh-James, 2020 WL 4003566, at *8 (D. Conn. July 15, 2020)

(denying motion for compassionate release filed by inmate with history of smoking in

absence of particularized impact on health); United States v. Marsh, 2020 WL 3989580, at

*2 (D. Vt. July 15, 2020) (denying motion for compassionate release despite history of

                                             5
        Case 2:12-cr-20119-JWL Document 280 Filed 09/18/20 Page 6 of 7




smoking where there was no showing of related disease); United States v. Stafford, 2020

WL 3893401, at *2 (D. Md. July 10, 2020) (inmate’s history of smoking did not sufficiently

differentiate him from the thousands of similarly situated incarcerated individuals to

constitute an extraordinary and compelling reason for judicial relief). Thus, while the

CDC’s most recent guidance states that smoking “might” contribute to heightened

susceptibility to severe COVID-19 illness, see https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html (last visited September

18, 2020), there is simply no basis on this record to conclude that defendant’s risk is

sufficient to constitute an extraordinary and compelling reason for release, particularly in

the absence of other underlying medical conditions. Compare United States v. Slate, 2020

WL 4722382, at *2 (D. Hawaii Aug. 13, 2020) (inmate’s history of smoking at most placed

him at possible increased risk; denying motion for relief) with United States v. Galaz, 2020

WL 4569125, at 4 (S.D. Cal. Aug. 7, 2020) (granting motion for relief based in part on

history of smoking combined with other conditions including tuberculosis).

       Lastly, Mr. Lamas asserts in his motion that his conditions of confinement—a prison

setting—increases his risk of contracting the virus. But Yankton FPC appears to be

effectively responding to and defending against the threats of the virus. The coronavirus

page of the BOP’s website indicates that Yankton has tested nearly one-fifth of its inmate

population and has never had a positive case. Mr. Lamas, then, has failed to meet his

burden to show that the conditions at Yankton FPC significantly increase his risk of

contracting COVID-19.



                                             6
        Case 2:12-cr-20119-JWL Document 280 Filed 09/18/20 Page 7 of 7




      Mr. Lamas, then, has simply not shown that he bears an increased risk of serious

medical harm, and the court is not prepared to order the release of any and all inmates,

solely because of the pandemic, in the absence of such a particularized risk. Accordingly,

the court in its discretion concludes that Mr. Lamas has not shown that extraordinary and

compelling reasons warrant his release from prison. The court therefore denies the instant

motion for relief under section 3582(c)(1)(A).



      IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s

emergency motion for reduction in sentence (doc. #275) is hereby denied.



      IT IS SO ORDERED.



      Dated this 18th day of September, 2020, at Kansas City, Kansas.

                                                 s/ John W. Lungstrum
                                                 John W. Lungstrum
                                                 United States District Judge




                                            7
